Case 5:08-cv-00032-NPI\/|-GHL Document 1 Filed 01/09/08 Page 1 of 4

 

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UNITED sTATEs FEDERAL msch coURT §§ §r §§ §

NORTHERN DISTRICT OF NEW YORK _ .. , ,
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JEFFREY TI-[RALL, mg §_edi and on behalf of himself and with Standing l _`
F or all similarly situated employees (both, Past/Present/filture) and, with AT---- pp J"` F____`_
standing on behalf of commissioner EDWARD GARROW, Mediator, 13“"‘“ *~` W`H‘ fm Syraase
of the Federal Mediation & Conciliation Service (“FMCS”)

 

 

 

 

CIVIL ACTIoN
PLAINTIFF, '
VS.
JURY TRIAL DEMAND
CENTRAL NEW YORK TRANSPORTAHON AUTHORITY l §
(“cNYRTA”) EMPLOYEE’s; c.E.o., Frank KOBLISKI 3 4 QX" C\/ ' 52
sENIOR v.P., John RENOCK; v.P., Joseph (“JOE”) DEGl_zAY,
menard (“RICK”) g (v.P. Human Resources); Steve sHARE ' . ~- §§ N QN\ Q ll L-

(V.P. Finance) Gary NORDHEIM (Director Employee Relations);’ ,
Jackie MUSENGO (Benefxts Manager); & Audrey TUCKER `
(Light Duty Manager) and,

CNYRTA’S EXECUTIVE BOARD OF DIRECTORS &, CNYRTA’S
ATTORNEY CRAIG ATLAS, of the law flrm: FERRARA, FIORENZA,
LARRISON, BARRETT & REITZ, P.C., and,

CNYRTA’S BOARD OF DIRECTORS FOR RETIREMEN'I` COMMITTEE
AND/OR THE TRUSTEE(S) AND/OR “John DOE” ACTUARY OF CNYRTA’S
RETIREMENT PLAN FOR UNION EMPLOYEE OF CNYR'I`A,

_and_

AMALGAMATED TRANSIT UNION LOCAL 580, OF SYRACUSE,
OFFICERS C.E.O, Chuck WATSON, Dorothy HUNTER (former V.P.)

Bill MONTROSE (Union Steward); Mary NEUGENT (Recording Secretary);
Al PARKER (Fonner V.P); Mary JANE TORTICI (Union Steward) and
John CAMPBELL (Former Union President); Joseph WELCH,
INTERNATIONAL VICE PRESIDENT OF LOCAL 580, sug@, and THE
INTERNATIONAL PRESIDENT, Wanen GEORGE, and,

UNION LOCAL 580, ATTORNEYS: STEHANIE MINER (LAW FIRM OF
BLITMAN & KING) AND, ATTORNEYS: MIMI SATTLER AND
MATTHEW E. BERGERON (LAW FIRM OF SATTER & ANDREWS),

-and_
ONONDAGA NEW YORK SUPREME AND COUNTY COURTS CLERKS.Z
PATRICIA J. NOLL, CHIEF CLERK, JAMES E. MAKOWIEC, DEPUTY CHIEF CLERK
AND MARY THOMASON, §§ _aL,

_and_

ATTORNEY

Case 5:08-cv-00032-NPI\/|-GHL Document 1 Filed 01/09/08 Page 2 of 4

INTRODUCTION JURISDICTION AND VENUE

 

F[RST: This is a civil action brought by an adult white male, JEFFREY THRALL (“Petitioner”) against
his former employer CNYRTA, and employee Union, Local 580, for terminating him, on January 9, 2002,
unconstitutionally, via common law fraud, via actual fraud, fraudulent concealment and/or via employment
contract fraud, all, in gross violation of both the Due Process of Law and Equal Protection Clauses of the
fourteenth amendment of the United States Constitution and, too, in violation of New York State’s common
law fraud under § 213(8) ofNew York State’s Civil Practice Law and Rules (C.P.L.R.) and, tinally, but not
limited to, the Defendants egregious violation of our New York State’s Laws prohibiting Deceptive

Business Practices, under the General Business Law, § 349(h).

SECOND: Because each and every Defendant herein, acting, individually and/or collectively, in their
official and/or unofficial capacity, under color of state law, committed actual fraud on the Honorable
Justices of the Onondaga County New York Supreme Courts and, committed same frauds on the Honorable
Justices of the New York State Supreme Court Appellate Division (Fourth Department), via extrinsic fraud,
intrinsic fraud, fraudulent acts, misrepresentation, fraudulent concealment, fraudulent misrepresentation,
fraudulent misrepresentation, false statements, falsifying records, misrepresentation, filing false business
records, and material misrepresentations, all, against a Federal Official (i.e. Commissioner Mr. Ed Garrow)
and against the Petitioner, gt. aL, this civil rights action is also being brought in order to secure declaratory,
injunctive and/or equitable relief as authorized by federal law based upon the fact that Defendant’s frauds
and/or cover-ups herein, all, ultimately and/or effectively caused an Onondaga County State Supreme Court
Justice to arbitrarily and unconstitutionally deny Plaintiff (and he was denied) his guaranteed fundamental

state and federal constitutional right to access to the state Courts to challenge his unlawful termination

THIRD: and based upon the above, this civil action also arises under 42 U.S.C § 1983, which permits the
institution of a Federal Civil Action for deprivation of rights, privileges, and/or immunities secured by the
Constitution and laws of the United States where such deprivation occurs under color of any state statute,
ordinance, regulation, custom or usage, under 28 U.S.C §§ 1331 and l332(a); 1343(a)(l)(2)(3) and (4),
Which places original jurisdiction in the federal district court for civil actions commenced by any person to
redress the deprivation of such rights (see, additional deprivations herein involving the above rights under
U.S. Constitution Amendments: F'_lr__st (association rights, right to petition Defendants to redress grievances;
freedom of speech/expression, peaceful assembly); Lit_h (Due process) gigm (Conduct shocking to court’s
conscious); M; Thirtggnth (Black Codes); & Fourteenth; cf, U.S. Const. _;A_rL I, § 10 (Law impairing the
Obligation of Contracts); and, Title I of the Labor Management Recording Disclosure Act (LMRDA)

 

Case 5:08-cv-00032-NPI\/|-GHL Document 1 Filed 01/09/08 Page 3 of 4

COURT’S PENDEN'I' JURISDICTION

 

Pendent Jurisdiction herein is based upon our New York State Constitution , Article 1, § 6 (Due process);
_;A_rL I, § 11 (Equal rights under the law); ;Ag I, § 17; New York States Civil Rights Law, § 40-c(l) and (2)

 

THEPLAINTIFF

 

Plaintiff is a an adult white male, a born citizen of these United States of America and, a citizen of the State
of New York and, by virtue of said status the entitlement to all rights, privileges and immunities, all, are
now being called upon. Plaintiff, prior to his unlawful termination from his job of sixteen (16) years as a
full time CNYRTA bus mechanic and welder, and before being unlawfully and selectively expelled from
his Union while he was out of work due to disability, he was a member, in good standing, with Defendants

Amalgamated Transit Union, Local 580, of Syracuse, New York.

CENTRO DEFEEQANTS

CNYRTA is a public authority and a public benefit corporation Public Authorities Law § 1328(1). CNY
Centro, lnc., Centro of Oswego, lnc., Centro of Cayuga, Inc., and Centro of Utica, Inc (collectively referred
to as “CENTRO”), all, are public benefit subsidiary corporations of CNYRTA which directly employ bus
mechanics and bus operators such as Plaintiff. Pursuant to the above, together with state and federal laws,
and pursuant to the Collective Bargaining Agreement (“CBA” Contract) between CENTRO and the Union
Defendants C.E.O., Frank KOBLISKI; Senior V.P., John RENOCK; V.P., Joseph (“JOE”) DEGRAY;
Human Resources V.P., Richard (“Rick”) LEE; Employee Relations Director, Gary NORDHEIM; Benefits
Manager, Jackie MUSENGO; and Light Duty Manager, Audrey TUCKER; all, in their individual and/or
collective capacities Work under the general direction of CENTRO’s Executive Board of Directors and/or,
all individually and/or collectively work under the Direction of C.E.O., Frank Kobliski. Each and every
Defendants, due to their fiduciary relationship to Plaintiff and all other employees, and/or Union members,
said Defendants, M are responsible for each employee‘s rights, privileges and/or terms and conditions
of their employment as specifically mandated in CENTRO’s CBA and, thus, all, are also responsible for the
overall supervision, management, control, and/or enforcement of said CBA according to state and federal
laws. Finally, each and every Defendant, s_uga, while acting individually and/or collectively, in his/her

official and/or unofficial capacity, all, are responsible for assuring that each of them, while acting under

Case 5:08-cv-00032-NPI\/|-GHL Document 1 Filed 01/09/08 Page 4 of 4

color of state law, thereby, effectively complies with all (i.e., that they do not violate any) state and federal

laws found in the CBA, under its Conformity to law clauses and Non-discrimination clauses.
UNION LOCAL 580 DEFENDANTS

C.E.O., Chuck WATSON, Dorothy HUNTER (former President and V.P.), Bill MONTROSE (Bus
Mechanic’s Steward), Mary NEUGENT (Former recording Secretary), Al PARKER (Former V.P),
John CAMPBELL (former President), Mary Jarre TORTICI (Steward), all, under New York State’s Taylor

Law and
CENTRO’S AND THE UNIONS ATTORNEYS

Defendants: CENTRO’s Attorneys and/or Union Local 580’s Attomeys, all, as OHicers of the Court, all,
are sworn to uphold the laws of the constitution of` these United States of America and the New York State
Constitution and, as such, said attorneys are prohibited from engaging in any conduct whatsoever that may
suggest that they knew and/or should have known and/or that their clients knew and/or should have known,
and/or engaged fraud, fraudulent concealrnent, and/or a cover-up, prior to signing their individual sworn
aHidavits, all, previously submitted to the Honorable Justice Roy and, then, submitted to the Honorable
Justices of the Supreme Court Appellate Division, Fourth Department, that said clients and/or attorneys
then had committed, and/or compounded, a fraud, fraudulent concealment, and/or cover-up, against a
federal mediator, and thus violated M, of the I~`ederal Rules of Civil Procedure (FRCP).

Factual allegations

That on or about January 9, 2002, Defendants knowingly, intentionally, intelligently, deliberately, willfirlly
purposefully, maliciously, and in “bad faith” filed false, fraudulent, and misleading termination letter then
claiming that Plaintiff then was being terminated due to absenteeism. Said actual fraud, and/or fraudulent
concealment, was in gross violation of Defendants past practice in providing Plaintiff with fair, reasonable,
and adequate notice of their “absentee control program” for “excessive absenteeism” as was provided to
Plaintiff three (3) years earlier, by letter dated October 4, 1999,

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